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 1 CANDICE L. FIELDS, SBN 172174
     CANDICE FIELDS LAW
 2 455 Capitol Mall, Suite 802
   Sacramento, California 95814
 3 Telephone:  (916) 414-8050
   Facsimile:  (916) 790-9450
 4 cfields@candicefieldslaw.com

 5 Attorneys for Defendant MARCUS A. COOPER

 6

 7

 8
                                 UNITED STATES DISTRICT COURT
 9
                               EASTERN DISTRICT OF CALIFORNIA
10

11 UNITED STATES OF AMERICA,                         Case No. 2:14-CR-00022-JAM

12                      Plaintiff,
                                                     STIPULATION AND ORDER TO
13                                                   CONTINUE STATUS CONFERENCE
     v.
14
                                                     Date: March 24, 2015
15 MARCUS COOPER, et. al.,                           Time: 9:30 a.m.
                                                     Judge: Judge John A. Mendez
16                      Defendants.

17

18

19                                        STIPULATION
20        Plaintiff United States of America, by and through its counsel of record, and
21 defendants Marcus A. Cooper, Tiana Naples, and Leticia A. Roque, by and through their

22 counsel of record, hereby stipulate as follows:

23        1.     By previous order, this matter was set for status on March 24, 2015, at 9:30
24 a.m. before Judge John A. Mendez.

25        2.     By this stipulation, defendants now move to continue the status conference
26 until May 19, 2015, at 9:15 a.m. before Judge John A. Mendez, and to exclude time

27 between March 24, 2015, and May 19, 2015, inclusive, under Local Code T4 (to allow

28 defense counsel time to prepare).


     1            STIPULATION AND [PROPOSED] ORDER TO CONTINUE STATUS CONFERENCE
           Case 2:14-cr-00022-JAM Document 50 Filed 03/20/15 Page 2 of 4



 1         3.     The parties agree and stipulate, and request that the Court find the following:
 2         a.     The government has represented that the discovery associated with this case
 3 includes hundreds of pages of discovery, including investigative reports and related

 4 documents, as well as several large bags of physical evidence. All of this discovery has

 5 been either produced directly to counsel and/or made available for inspection and copying.

 6         b.     Counsel for defendants desire additional time to consult with their clients, to
 7 review the current charges, to conduct investigation and research related to the charges, to

 8 review discovery in this matter, and to discuss potential resolutions with their clients.

 9         c.     Counsel for defendants believe that failure to grant the above-requested
10 continuance would deny them the reasonable time necessary for effective preparation,

11 taking into account the exercise of due diligence.

12         d.     The government does not object to the continuance.
13         e.     Based on the above-stated findings, the ends of justice served by continuing
14 the case as requested outweigh the interest of the public and the defendant in a trial within

15 the original date prescribed by the Speedy Trial Act.

16         f.     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
17 3161, et seq., within which trial must commence, the time period of March 24, 2015, to May

18 19, 2015, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), B(iv)

19 [Local Code T4] because it results from a continuance granted by the Court at defendants’

20 request on the basis of the Court's finding that the ends of justice served by taking such

21 action outweigh the best interest of the public and the defendant in a speedy trial.

22         4.     Nothing in this stipulation and order shall preclude a finding that other
23 provisions of the Speedy Trial Act dictate that additional time periods are excludable from

24 the period within which a trial must commence.

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     2            STIPULATION AND [PROPOSED] ORDER TO CONTINUE STATUS CONFERENCE
           Case 2:14-cr-00022-JAM Document 50 Filed 03/20/15 Page 3 of 4



 1
                                                Respectfully submitted,
 2

 3 Dated: March 19, 2015                        /s/ Candice L. Fields for
                                                MATTHEW MORRIS
 4
                                                Assistant United States Attorney
 5                                              Attorney for Plaintiff

 6
     Dated: March 19, 2015                      /s/ Candice L. Fields for
 7
                                                BENJAMIN GALLOWAY
 8                                              Assistant Federal Defender
                                                Attorney for Defendant
 9                                              TIANA NAPLES
10

11 Dated: March 19, 2015                        /s/ Candice L. Fields for
                                                TASHA CHALFANT
12                                              Attorney for Defendant
                                                LETICIA A. ROQUE
13

14
     Dated: March 19, 2015                      /s/ Candice L. Fields
15                                              Candice L. Fields
                                                Attorney for Defendant
16
                                                MARCUS A. COOPER
17

18
                                                 ORDER
19
            UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the
20
     status conference presently set for March 24, 2015, be continued to May 19, 2015, at 9:30
21
     a.m. Based on the representation of counsel and good cause appearing therefrom, the
22
     Court hereby finds that the ends of justice to be served by granting a continuance outweigh
23
     the best interests of the public and the defendant in a speedy trial. It is ordered that time
24
     from March 24, 2015, to and including, May 19, 2015, the status conference shall be
25
     excluded from computation of time within which the trial of this matter must be commenced
26
     under the Speedy Trial Act pursuant to 18 U.S.C. § 3161 (h)(7)(A) and (B)(iv) [reasonable
27
     time for counsel to prepare] (Local Code T4).
28
     ///

     3             STIPULATION AND [PROPOSED] ORDER TO CONTINUE STATUS CONFERENCE
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1        IT IS SO ORDERED.
2 Dated: March 20, 2015
                                        /s/ John A. Mendez_______________
3
                                        United States District Court Judge
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     4         STIPULATION AND [PROPOSED] ORDER TO CONTINUE STATUS CONFERENCE
